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                                         EXHIBIT A

                          CONFIDENTIAL
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Ashley Guillard,
msashleyjt@gmail.com
3262 Westheimer Rd. 942
Houston, TX 77098
Telephone: 337.372.3181

Pro Se

                              UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF IDAHO

REBECCA SCOFIELD,                                   Case No. 3:22-cv-00521-REP

                Plaintiff,
                                                    DEFENDANT’S RESPONSE TO
                                                    PLAINTIFF’S REQUESTS FOR
                v.                                  ADMISSION

ASHLEY GUILLARD,

                Defendant.



                        RESPONSE TO REQUESTS FOR ADMISSION

REQUESTS FOR ADMISSION NO. 1: Admit that you have stated publicly that Rebecca

Scofield had an affair with Kaylee Goncalves.

RESPONSE TO REQUESTS FOR ADMISSION NO. 1: I admit in part and deny in part to

this matter. Specifically, I admit that I stated publicly the results of a tarot reading. The tarot

reading revealed that Rebecca Scofield had an affair with Kaylee Goncalves.

REQUESTS FOR ADMISSION NO. 2: Admit that you have stated publicly that Rebecca

Scofield was involved with the murders of Kaylee Goncalves, Xana Kernodle, Madison Mogen,

and Ethan Chapin.

RESPONSE TO REQUESTS FOR ADMISSION NO. 2: I admit in part to this matter.

Specifically, I admit that I stated publicly the results of a tarot reading. The tarot reading



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revealed that Rebecca Scofield was involved with the murders of Kaylee Goncalves, Xana

Kernodle, Madison Mogen, and Ethan Chapin.

REQUESTS FOR ADMISSION NO. 3: Admit that Plaintiff did not have an affair with

Kaylee Goncalves.

RESPONSE TO REQUESTS FOR ADMISSION NO. 3: I DENY this matter. The Plaintiff

has not proven that she did not have an affair with Kaylee Goncalves. The Plaintiff’s discovery

attempts to gather information from the University of Idaho was limited and manipulated. Unless

otherwise proven, I believe the tarot reading to be correct in its entirety.

REQUESTS FOR ADMISSION NO. 4: Admit that Plaintiff was not involved with the

murders of Kaylee Goncalves, Xana Kernodle, Madison Mogen, and Ethan Chapin.

RESPONSE TO REQUESTS FOR ADMISSION NO. 4: I DENY this matter. The Plaintiff

has not proven that she was not involved with the murders of Kaylee Goncalves, Xana Kernodle,

Madison Mogen, and Ethan Chapin. Unless otherwise proven, I believe the tarot reading to be

correct in its entirety.

REQUESTS FOR ADMISSION NO. 5: Admit that the only basis for your statement that

Plaintiff had an affair with Kaylee Goncalves is your spiritual research, intuition, and instincts.

RESPONSE TO REQUESTS FOR ADMISSION NO. 5: I DENY this matter. I also used

investigative skills, public information about the case, public information on the University of

Idaho website, logic, and behavior analysis based on the actions of the plaintiff during this civil

case.

REQUESTS FOR ADMISSION NO. 6: Admit that the only basis for your statement that

Plaintiff was involved with the murders of Kaylee Goncalves, Xana Kernodle, Madison Mogen,

and Ethan Chapin is your spiritual research, intuition, and instincts.




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RESPONSE TO REQUESTS FOR ADMISSION NO. 6: I DENY this matter. I also used

investigative skills, public information about the case, public information on the University of

Idaho website, logic, and behavior analysis based on the actions of the plaintiff during this civil

case.

REQUESTS FOR ADMISSION NO. 7: Admit that you have never been to Moscow,

Idaho.

RESPONSE TO REQUESTS FOR ADMISSION NO. 7: I admit that I have never been to

Moscow, Idaho.

REQUESTS FOR ADMISSION NO. 8: Admit that you have never been to the State of
Idaho.

RESPONSE TO REQUESTS FOR ADMISSION NO. 8: I admit that I have never been to

Idaho.

REQUESTS FOR ADMISSION NO. 9: Admit that you are not aware of any physical

evidence linking Plaintiff to the Murders.

RESPONSE TO REQUESTS FOR ADMISSION NO. 9: I DENY this matter. There’s plenty

of evidence to be discovered during the civil discovery process or criminal trial.

REQUESTS FOR ADMISSION NO. 10: Admit that you are not aware of any physical

evidence showing that Plaintiff had an affair with Kaylee Goncalves.

RESPONSE TO REQUESTS FOR ADMISSION NO. 10:

I DENY this matter. There’s plenty of evidence to be discovered during the civil discovery

process or criminal trial.

REQUESTS FOR ADMISSION NO. 11: Admit that you never said Plaintiff communicated

with Bryan C. Kohberger about the murders until after Mr. Kohberger was arrested on or about

December 30, 2022.



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RESPONSE TO REQUESTS FOR ADMISSION NO. 11: I DENY to this matter. Before

Kohberger was arrested I referred to him as Scofield’s second option for a hit man.

REQUESTS FOR ADMISSION NO. 12: Admit that you never said Plaintiff had access

to a white Hyundai Elantra until after law enforcement publicly stated they were looking for

information about a white Hyundai Elantra in relation to the Murders on or about December 7,

2022.

RESPONSE TO REQUESTS FOR ADMISSION NO. 12: Admitted.

REQUESTS FOR ADMISSION NO. 13: Admit that you have never communicated with

Jack DeCoeur.

RESPONSE TO REQUESTS FOR ADMISSION NO. 13: I cannot admit or deny this matter.

Many people have anonymously contacted me by way of electronic communication.

REQUESTS FOR ADMISSION NO. 14: Admit that you have never communicated with

Bryan C. Kohberger.

RESPONSE TO REQUESTS FOR ADMISSION NO. 14: I cannot admit or deny this matter.

Many people have anonymously contacted me by way of electronic communication.

REQUESTS FOR ADMISSION NO. 15: Admit that you have no written information

showing that Plaintiff ever met Xana Kernodle.

RESPONSE TO REQUESTS FOR ADMISSION NO. 15: I cannot admit or deny that I have

not received written information showing that the Plaintiff ever met Xana Kernodle. Discovery is

still pending. Public information from the victims’ social media may show that the Plaintiff met

Xana Kernodle.

REQUESTS FOR ADMISSION NO. 16: Admit that you have not received any information

orally from another human being showing that Plaintiff ever met Xana Kernodle.




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RESPONSE TO REQUESTS FOR ADMISSION NO. 16: Admitted.

REQUESTS FOR ADMISSION NO. 17: Admit that you have no written information showing

that Plaintiff ever met Madison Mogen.

RESPONSE TO REQUESTS FOR ADMISSION NO. 17: I cannot admit or deny that I have

not received written information showing that the Plaintiff ever met Madison Mogen. Discovery

is still pending. Public information from the victims’ social media may show that the Plaintiff

met Madison Mogen.

REQUESTS FOR ADMISSION NO. 18: Admit that you have not received any information

orally from another human being showing that Plaintiff ever met Madison Mogen.

RESPONSE TO REQUESTS FOR ADMISSION NO. 18: Admitted.

REQUESTS FOR ADMISSION NO. 19: Admit that you have no written information showing

that Plaintiff ever met Ethan Chapin.

RESPONSE TO REQUESTS FOR ADMISSION NO. 19: I cannot admit or deny that I have

not received written information yet showing that the Plaintiff ever met Ethan Chapin. Discovery

is still pending. Public information from the victims’ social media may show that the Plaintiff

met Ethan Chapin.

REQUESTS FOR ADMISSION NO. 20: Admit that you have not received any

information orally from another human being showing that Plaintiff ever met Ethan Chapin.

RESPONSE TO REQUESTS FOR ADMISSION NO. 20: Admitted.

REQUESTS FOR ADMISSION NO. 21: Admit that you have no written information showing

that Plaintiff ever met Jack DeCoeur.

RESPONSE TO REQUESTS FOR ADMISSION NO. 21: As of today, December 15, 2023,

this matter is admitted. However, discovery is still pending.




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REQUESTS FOR ADMISSION NO. 22: Admit that you have not received any information

orally from another human being showing that Plaintiff ever met Jack DeCoeur.

RESPONSE TO REQUESTS FOR ADMISSION NO. 22: Admitted.

REQUESTS FOR ADMISSION NO. 23: Admit that you received and read a cease-and-desist

letter from Stoel Rives LLP dated November 29, 2022.

RESPONSE TO REQUESTS FOR ADMISSION NO. 23: Admitted.

REQUESTS FOR ADMISSION NO. 24: Admit that after you received and read that cease-

and-desist letter dated November 29, 2022, you continued to state publicly that Rebecca Scofield

had an affair with Kaylee Goncalves.

RESPONSE TO REQUESTS FOR ADMISSION NO. 24: I DENY this matter. I did not

receive November 29, 2022, cease-and-desist letter until December 8, 2022.

REQUESTS FOR ADMISSION NO. 25: Admit that after you received and read that cease-

and-desist letter dated November 29, 2022, you continued to state publicly that Rebecca Scofield

was involved with the murders of Kaylee Goncalves, Xana Kernodle, Madison Mogen, and

Ethan Chapin.

RESPONSE TO REQUESTS FOR ADMISSION NO. 25: I DENY this matter. I did not

receive November 29, 2022, cease-and-desist letter until December 8, 2022.

REQUESTS FOR ADMISSION NO. 26: Admit that you received and read a cease and

desist letter from Stoel Rives LLP dated December 8, 2022.

RESPONSE TO REQUESTS FOR ADMISSION NO. 26: Admitted.

REQUESTS FOR ADMISSION NO. 27: Admit that after you received and read that cease-

and-desist letter dated December 8, 2022, you continued to state publicly that Rebecca Scofield

had an affair with Kaylee Goncalves.




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RESPONSE TO REQUESTS FOR ADMISSION NO. 27: Admitted.

REQUESTS FOR ADMISSION NO. 28: Admit that after you received and read that cease-

and-desist letter dated December 8, 2022, you continued to state publicly that Rebecca Scofield

was involved with the murders of Kaylee Goncalves, Xana Kernodle, Madison Mogen, and

Ethan Chapin.

RESPONSE TO REQUESTS FOR ADMISSION NO. 28: Admitted.

REQUESTS FOR ADMISSION NO. 29: Admit that you are aware that on or about December

27, 2022, the Moscow Police Department issued a press release related to the Murders stating:

“At this time in the investigation, detectives do not believe the female associate professor

and chair of the history department at the University of Idaho suing a TikTok user for defamation

is involved in this crime.”

RESPONSE TO REQUESTS FOR ADMISSION NO. 29: Admitted.

REQUESTS FOR ADMISSION NO. 30: Admit that after you became aware of the press

release described in REQUESTS for Admission No. 29, you continued to state that Plaintiff was

involved with the Murders.

RESPONSE TO REQUESTS FOR ADMISSION NO. 30: Admitted.

DATED: December 15, 2023.


                                                                              /s/ Ashley J. Guillard

                                                                                 Ashley J. Guillard

                                                                                    Pro-Se Litigant




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                                CERTIFICATE OF SERVICE

I hereby certify that on December 15, 2023, I served a copy of the foregoing via email as

follows:

Ashley Guillard: msashleyjt@gmai.com;

Cory M. Carone: cory.carone@stoel.com, docketclerk@stoel.com, tracy.horan@stoel.com;

Elijah M. Watkins: elijah.watkins@stoel.com, docketclerk@stoel.com, tracy.horan@stoel.com;

Wendy J. Olson: wendy.olson@stoel.com, docketclerk@stoel.com, tracy.horan@stoel.com.



                                                                            /s/ Ashley J. Guillard

                                                                               Ashley J. Guillard

                                                                                  Pro-Se Litigant




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